                 Case 2:21-cv-05427-RGK-MRW Document 57 Filed 05/27/22 Page 1 of 2 Page ID #:304



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                         8                        UNITED STATES DISTRICT COURT
                         9                      CENTRAL DISTRICT OF CALIFORNIA
                      10                                                    Case No. 2:21-cv-5427-RGK-MRW
                              MERIDIAN TEXTILES, INC., a California
                      11      Corporation,                                  (Honorable R. Gary Klausner)

                      12                  Plaintiff,
                                                                            ORDER and JUDGMENT
                      13            vs.                                     GRANTING APPLICATION
                                                                            AND MOTION FOR DEFAULT
                      14      THE BUCKLE, INC., a Nebraska                  JUDGMENT [54]
                              Corporation; UNGER FABRIK, LLC, a
                      15      Delaware limited liability company
                              individually and doing business as “Rad       Date: June 6, 2022
                      16      Clothing”; and DOES 1-10,                     Time: 9:00 a.m.
                                                                            Courtroom 850, 8th Floor
                      17                  Defendants.

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HINSHAW & CULBERTSON LLP
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   333 South Seventh Street
         Suite 2000
                                                           [PROPOSED] ORDER CASE NO. 2:21-CV-5427-RGK-MRW
    Minneapolis, MN 55402
        612-333-3434
                 Case 2:21-cv-05427-RGK-MRW Document 57 Filed 05/27/22 Page 2 of 2 Page ID #:305



                         1           CAME ON FOR CONSIDERATION, The Buckle Inc.’s (“Buckle”) Motion
                         2    for Default Judgment against Defendant and Cross Defendant Unger Fabrik, LLC
                         3    d/b/a Rad Clothing (“Unger”.)
                         4
                         5                                         ORDER
                         6           IT IS HEREBY ORDERED:
                         7           Pursuant to its Cross Claim against Unger, Buckle is adjudged to be the
                         8    prevailing party on its breach of contract claim against Unger, and Buckle’s Motion
                         9    for Default Judgment against Unger in the amount of $18,514.00 is granted in its
                      10      entirety.
                      11
                      12             SO ORDERED.
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                      14      Dated: _________________
                                      5/27/2022                           ________
                                                                           _____________________________
                      15                                                  Hon. R. Gary Klausner
                                                                          United States District Judge
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HINSHAW & CULBERTSON LLP
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                                                           [PROPOSED] ORDER CASE NO. 2:21-CV-5427-RGK-MRW
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